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                            UNITED STATES DISTRICT COURT
15                FOR THE CENTRAL DISTRICT OF CALIFORNIA
16   JENNY LISETTE FLORES; et al.,             Case No. CV 85-4544-DMG
17
              Plaintiffs,
18
                                               JOINT STATUS REPORT
19
                   v.

20   WILLIAM P. BARR, Attorney General
21
     of the United States; et al.,

22
              Defendants.
23

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 1         The parties continue mediation to address resolution of Plaintiffs’ June 26,
 2
     2019, Ex Parte Application for a Temporary Restraining Order and an Order to
 3

 4   Show Cause Why a Preliminary Injunction and Contempt Order Should Not Issue

 5   (ECF NO. 572), and believe progress is being made towards settlement. The parties
 6
     met and conferred in Los Angeles on October 17, 2019, and again on January 14 and
 7

 8
     15, 2020. Following the January 14-15, 2020 mediation the parties have exchanged

 9   amended written proposals, and also met telephonically on January 29, 2020.
10
           The parties plan to meet again telephonically on February 26, 2020, and
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12
     further plan to meet in Los Angeles with the Special Master/Independent Monitor

13   and Dr. Paul Wise on March 2, 2020. The parties continue to make progress and
14
     agree that the goal of reaching joint resolution of these issues is best served by
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     allowing additional time. The Parties will submit a further status report on or before
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17   March 11, 2020.
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           The parties agreed that the Monitor will continue to perform her ongoing
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     responsibilities throughout this period.
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 1   DATED: February 25, 2020         /s/Peter Schey (with permission)
 2                                    Class Counsel for Plaintiffs
                                      CENTER FOR HUMAN RIGHTS &
 3                                    CONSTITUTIONAL LAW
 4                                    Peter A. Schey
                                      Carlos Holguín
 5

 6   DATED: February 25, 2020         JOSEPH H. HUNT
                                      Acting Assistant Attorney General
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                                      /s/ Sarah B. Fabian
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Case 2:85-cv-04544-DMG-AGR Document 727 Filed 02/25/20 Page 4 of 4 Page ID #:33976



 1                             CERTIFICATE OF SERVICE
 2

 3
           I hereby certify that on February 25, 2020, I served the foregoing pleading

 4   on all counsel of record by means of the District Clerk’s CM/ECF electronic filing
 5
     system.
 6

 7
                                                 /s/ Sarah B. Fabian
 8                                               SARAH B. FABIAN
 9
                                                 U.S. Department of Justice
                                                 District Court Section
10                                               Office of Immigration Litigation
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                                                 Attorney for Defendants
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